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                In the United States District Court
                    for the District of Columbia

Rochelle Garza, as                  §
guardian ad litem to                §
unaccompanied minor J.D.,           §
on behalf of J.D. and               §
others similarly situated,          §
                                    §
           Plaintiff,               §
                                    §       Case No. 1:17-cv-02122-TSC
v.                                  §
                                    §
Eric Hargan, Acting                 §
Secretary of Health and             §
Human Services, et al.,             §
                                    §
           Defendants.              §




BRIEF OF THE STATES OF TEXAS, ARKANSAS, LOUISIANA,
 MICHIGAN, NEBRASKA, OHIO, OKLAHOMA, AND SOUTH
      CAROLINA AS AMICI CURIAE IN SUPPORT OF
                   DEFENDANTS
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                  Interest of Amici Curiae
    Amici are the States of Texas, Arkansas, Louisiana, Michigan, Nebraska,
Ohio, Oklahoma, and South Carolina. The States have “a legitimate and

substantial interest in preserving and promoting fetal life,” as well as an
“interest in promoting respect for human life at all stages in the pregnancy.”
Gonzales v. Carhart, 550 U.S. 124, 145, 163 (2007). The States further have an
interest in cooperating with the federal government to establish a consistent
and correct understanding of the rights of aliens unlawfully present in the
United States, as the States “bear[] many of the consequences of unlawful
immigration.” Arizona v. United States, 567 U.S. 387, 397 (2012).
    In this case, Plaintiff asks the Court to declare that the U.S. Constitution
confers on unlawfully-present aliens the absolute right to an abortion on de-
mand even when they have no ties to this country other than the fact of their
arrest while attempting to cross the border unlawfully. As far as amici can as-
certain, no court has ever issued such a sweeping order—and with good rea-
son. If the Court grants the requested relief, there will be no meaningful limit
on the constitutional rights an unlawfully-present alien can invoke simply by
attempting to enter this country. Such relief would also contradict longstand-
ing Supreme Court precedent that full Fifth Amendment rights vest only in
those aliens who “have come within the territory of the United States and de-
veloped substantial connections with this country.” United States v. Verdugo-Ur-

quidez, 494 U.S. 259, 271 (1990) (emphasis added).



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    Amici thus urge the Court to reject Plaintiff’s radical request.1

                            Introduction
    The TRO and preliminary injunction Plaintiff seeks is unprecedented. No

federal court has ever declared that unlawfully-present aliens with no ties to
this country have a constitutional right to abortion on demand. The Court
should decline to break that new ground. It should deny the motion for a TRO
and preliminary injunction because Doe cannot prevail on the merits: The
Constitution does not confer on Jane Doe the right to an abortion.
    Furthermore, granting a TRO and preliminary injunction would harm the
public interest. Plaintiff argues that the public is better off if Doe can get an
abortion. The amici States strongly disagree. Doe concedes that she has “no
legal immigration status.” Dkt. 3-2 at 3. Granting Plaintiff’s motion for a TRO
and preliminary injunction would create a right to abortion for anyone on
Earth who entered the United States illegally, no matter how briefly. If Doe
has a right to an abortion, it is difficult to imagine what other constitutional

protections she would not have by extension. This would flow from that per-
verse incentive burdens the public at large as well as the governmental entities
that will be tasked with honoring these newfound rights.

    The Court should deny the motion for a TRO and preliminary injunction.



    1
      Neither amici nor counsel received any monetary contributions intended
to fund preparing or submitting this brief. No party’s counsel authored this
brief in whole or in part.

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                                A RGUMENT

I. Unlawfully-Present Aliens with No Ties to the United States
   Have No Constitutional Right to an Abortion on Demand.
    The Court should deny the motion for a TRO and preliminary injunction
because the right Plaintiff asks the Court to enforce does not exist. She there-
fore cannot show a likelihood of success on the merits, and so the Court should

deny her motion for a TRO and a preliminary injunction. See Sherley v. Sebe-
lius, 644 F.3d 388, 392–93 (D.C. Cir. 2011) (Winter is properly read “at least
to suggest if not to hold” that the plaintiff’s “likelihood of success is an inde-

pendent, freestanding requirement for a preliminary injunction,” which is not
weighed against the other factors) (quotation marks omitted)).
    1. The “initial inquiry” in assessing any due process claim is whether the
Constitution protects the right the plaintiff asserts. See Meachum v. Fano, 427
U.S. 215, 223–24 (1976). Only after confirming that the right at issue exists
should a court move on to whether the government has violated that right.
Thus, in this case, the Court should begin with a threshold question: do the
Fifth Amendment’s substantive due process guarantees apply to unlawfully-
present aliens with no connection to this country who were apprehended while

attempting to cross the border? The answer is no.2
    The Constitution provides that “[n]o person shall be . . . deprived of life,
liberty, or property, without due process of law.” U.S. Const. amend. V.


    2
     Plaintiff’s Memorandum in support of her motion overlooks this thresh-
old question entirely and begins with an undue-burden analysis. Dkt. 3-2 at 9.

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While the Supreme Court has held that unlawfully-present aliens are “per-
sons” protected by the Fifth Amendment, Plyler v. Doe, 457 U.S. 202, 210

(1982), the full scope of the Fifth Amendment’s protections that apply to cit-
izens do not cover everyone who merely attempts to enter this country. As the
Supreme Court clarified in United States v. Verdugo-Urquidez, 494 U.S. 259,

270 (1990), Plyler’s Fifth Amendment analysis “establish[es] only that aliens
receive constitutional protections when they have come within the territory of
the United States and developed substantial connections with this country.” Id. at
271 (emphasis added).
    The Supreme Court reiterated in 2001 that “once an alien enters the
country, the legal circumstance changes, for the Due Process Clause applies

to all ‘persons’ within the United States, including aliens, whether their pres-
ence here is lawful, unlawful, temporary, or permanent.” Zadvydas v. Davis,
533 U.S. 678, 693 (2001). But Zadvydas said nothing to alter or undermine

Verdugo-Urquidez’s pronouncement that to invoke the full scope of Fifth
Amendment rights, an unlawfully-present alien must demonstrate “substan-
tial connections.” See Ibrahim v. Dep’t of Homeland Sec., 669 F.3d 983, 997
(9th Cir. 2012) (applying “significant voluntary connection” test from Ver-
dugo-Urquidez); United States v. Meza-Rodriguez, 798 F.3d 664, 670 (7th Cir.
2015), cert. denied, 136 S. Ct. 1655 (2016) (same). Indeed, Zadvydas expressly

limited its analysis to “aliens who were admitted to the United States but subse-
quently ordered removed.” 533 U.S. at 682 (emphasis added). By contrast,



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“[a]liens who have not yet gained initial admission to this country would pre-
sent a very different question.” Id.

    The D.C. Circuit has recognized and applied this framework. Citing Ver-
dugo-Urquidez’s “substantial connection” rule, the D.C. Circuit has held that
“foreign nationals without a substantial connection to the United States” lack

standing to raise constitutional challenges. Arbelaez v. Newcomb, 1 F. App’x 1,
1 (D.C. Cir. 2001) (per curiam) (citing Verdugo-Urquidez, 494 U.S. at 271). It
has not explained exactly what constitutes a “substantial connection” under
Verdugo-Urquidez, but one sister circuit has held that studying for four years
at Stanford University was sufficient to establish a “‘significant voluntary
connection’ with the United States.” Ibrahim, 669 F.3d at 997. The Ninth

Circuit has left unresolved the question whether certain lawfully admitted al-
iens—such as “tourists, business visitors, and all student visa holders”—
could avail themselves of the Fifth Amendment’s protections. Id.

    Summed up, an unlawfully-present alien must at a minimum demonstrate
a “previous significant voluntary connection with the United States” suffi-
cient to prove a “substantial connection with our country” in order to assert
the full scope of Fifth Amendment rights. Verdugo-Urquidez, 494 U.S. at 271;
Trump v. Int'l Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017) (per cu-
riam) (staying injunction of immigration order for aliens “who lack any bona

fide relationship with a person or entity in the United States”); Landon v. Plas-




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encia, 459 U.S. 21, 32 (1982) (alien’s “constitutional status changes” only af-
ter he “gains admission to our country and begins to develop the ties that go

with permanent residence”).
     2. The Complaint (Dkt. 1) never alleges any facts that would establish
that Doe has significant ties to this country. To the contrary, the paragraphs

that state facts pertinent to Doe establish no connection to the United States
at all:
          • Paragraphs 4 and 5 summarize Doe’s current situation but offer no
             allegations establishing a connection to the United States other
             than her current unlawful presence.
          • Paragraph 13 alleges: “J.D. was detained by the federal government

             and placed in a federally funded shelter in Texas. J.D. is years [sic]
             old, pregnant, and told the staff at the shelter where she is currently
             housed that she wanted an abortion.” This paragraph admits that

             Doe entered the United States unlawfully but offers no allegations
             establishing a connection to the United States.
          • Paragraphs 14 and 15 discuss Doe’s recent efforts to obtain an abor-

             tion during her time in custody.
          • Paragraphs 33, 34, 35, 36, and 43 allege that the defendants have
             restricted Doe’s ability to receive an abortion in the United States.
In short, there are 69 paragraphs in the Complaint, and not one of them at-
tempts to meet the Plaintiff’s burden under Verdugo-Urquidez.



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    Moreover, the declaration that Doe submitted in support of her motion
for a temporary restraining order confirms that she has no substantial ties to

this country because Doe explicitly admits that she was “detained upon arri-
val.” Dkt. 3-3 ¶ 4. Doe repeats that she “came to the United States from [her]
home country without [her] parents,” and that she is 17 years old. Id. ¶¶ 2, 3.

But she never offers any fact establishing a connection to this country. See id.
¶¶ 5-18.
    3. Not only are Plaintiff’s factual assertions inadequate, but she further
offers no case or authority establishing the right she asks this Court to recog-
nize.
    Plaintiff relies on Roe, Casey, and Whole Woman’s Health v. Hellerstedt for

the proposition that “the government may not prohibit any woman from mak-
ing the ultimate decision to terminate her pregnancy before viability.” Dkt. 3-
2 at 9 (citing Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833, 871 (1992)

(plurality op.); Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292 (2016)).
But those cases never say or even imply that the substantive due process right
to an abortion recognized by the Supreme Court extends to unlawfully-present
aliens—especially not those who, like Doe, have no ties to this country and
were merely apprehended at the border.
    Plaintiff relies further on Planned Parenthood of Central Missouri v.

Danforth, 428 U.S. 52, 74 (1976), and Bellotti v. Baird, 443 U.S. 622, 633 n.12
(1979), for the proposition that the principles of Roe and Casey extend to mi-
nors. Dkt. 3-2 at 10-11. Those cases, too, did not involve unlawfully-present

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aliens. Plus, those cases simply confer on minors the right to bypass parental-
consent requirements by initiating a judicial proceeding to establish that an

abortion is in their best interests. See Bellotti, 443 U.S. at 651. As Plaintiff ad-
mits, “if Bellotti means anything, ‘it surely means that States seeking to regu-
late minors’ access to abortion must offer a credible bypass procedure, inde-

pendent of parents or legal guardians.” Dkt. 3-2 at 11 (quoting Causeway Med.
Suite v. Ieyoub, 109 F.3d 1096, 1112 (1997)). But Doe concedes that she already
has received a judicial bypass in Texas state court. See Dkt. 3-3 ¶ 6. That ends
the relevance of Bellotti and Planned Parenthood of Central Missouri.3
    Lacking case support, Plaintiff turns to 45 C.F.R. § 411.92(a) for the prop-
osition that unlawfully-present, unaccompanied minors such as Doe are enti-

tled to reproductive care. Dkt. 1 ¶ 29. But she mischaracterizes § 411.92(a),
which merely requires certain medical services, including emergency contra-
ception, to minors who are “victims of sexual abuse.” Doe has not alleged that

she is the victim of sexual abuse. See Dkt 3-3.
    4. Plaintiff is also wrong to cite the recent order in American Civil Liberties
Union of Northern California v. Burwell, No. 3:16-cv-03539-LB, (N.D. Cal.)

(Dkt. 102)—a case involving this same Jane Doe—to support her motion for
a TRO. That court held that the preexisting plaintiff in that case could not



    3
      A judicial bypass order does not confer on a minor the right to obtain an
abortion. See In re Doe, 501 S.W.3d 313, 315-16 (Tex. App.—Houston [14th
Dist.] 2016). It simply relieves Doe’s abortion provider of any duty to consult
her parents.

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permissibly amend its complaint to add Doe and her claims to that lawsuit, an
Establishment Clause case that had been pending for over a year. However,

that court went on to note that Doe would be entitled to a TRO if she had
brought her claims in a different lawsuit in a proper venue. Id. at 2. This Court
should disregard that dicta because it is incorrect.

    The Northern District of California never even asked—much less ana-
lyzed—the threshold question this case presents of whether unlawfully-pre-
sent aliens with no ties to this country have a Fifth Amendment right to an
abortion on demand while unlawfully present in the United States. Instead,
the court put the cart before the horse and stated that the federal government
has “no justification” for refusing to allow Doe to receive an abortion. Id. But

the question of the government’s justification matters only if the right Doe
presses exists—and in this case, it does not, as set out above. Had the North-
ern District of California properly begun with that threshold analysis, instead

of assuming without discussion that Doe has a right to an abortion, it would
have been forced to reach the opposite conclusion.
    At any rate, even on its own terms, the Northern District of California’s
analysis is incorrect. That court accused the federal government of “actively
preventing a woman from getting an abortion.” Id. Plaintiff echoes that point,
arguing that the government is “prohibit[ing] her from exercising her rights

at all.” Dkt. 3-2 at 2. But both the Plaintiff and the Northern District of Cali-
fornia mischaracterize this case. Doe concedes that her presence in this coun-
try is unlawful. Dkt. 3-2 at 3 (Doe has “no legal immigration status”). The

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government has explained that Doe is free to voluntarily depart this country.
Her “continued custodial status is due mainly to her decision not to file for

voluntary departure.” Am. Civil Liberties Union of N. Cal., No. 3:16-cv-03539-
LB (Dkt. 94 at 6-7). Neither Plaintiff nor the Northern District of California
has offered any citation or explanation to support their view that the govern-

ment blocks access to abortion even when it tells an unlawfully-present alien
that she is free to leave.
    5. Granting the relief Plaintiff seeks would have far-reaching and dire con-
sequences throughout constitutional law and would undermine settled prece-
dents.
    If on the facts of this case Doe has a Fifth Amendment right to an abortion,

it is hard to imagine why she could be denied any other constitutional rights—
such as the Second Amendment right to keep and bear arms. See McDonald v.
City of Chicago, 561 U.S. 742, 778 (2010) (the “right to keep and bear arms”

lies among the “fundamental rights necessary to our system of ordered lib-
erty”). Yet courts have consistently rejected the notion that unlawfully-pre-
sent aliens with no substantial connections to this country are protected by the
Second Amendment. See United States v. Portillo–Munoz, 643 F.3d 437, 442
(5th Cir. 2011) (“the phrase ‘the people’ in the Second Amendment of the
Constitution does not include aliens illegally in the United States”); United

States v. Carpio–Leon, 701 F.3d 974, 979 (4th Cir. 2012) (“illegal aliens do not
belong to the class of law-abiding members of the political community to
whom the Second Amendment gives protection”); United States v. Flores, 663

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F.3d 1022, 1023 (8th Cir. 2011) (per curiam) (“the protections of the Second
Amendment do not extend to aliens illegally present in this country”); cf.

Meza-Rodriguez, 798 F.3d at 669-672 (unlawfully-present alien has Second
Amendment rights only because he arrived in the U.S. at a young age and lived
here for 20 years).

    To hold that Doe has a constitutional right to an abortion in this case
would undermine these and others cases holding that individuals in Doe’s cir-
cumstances possess only narrow constitutional protections. The Court should
decline to take that dramatic step.

II. Granting a TRO or Preliminary Injunction Will Harm the Public
    Interest.
    Plaintiff’s motion for a TRO and preliminary injunction should be denied
because granting it will harm the public interest. As the Supreme Court has

recognized, the States already “bear[] many of the consequences of unlawful
immigration.” Arizona, 567 U.S. at 397. See Texas v. United States, 106 F.3d
661, 664 (5th Cir. 1997) (Texas’ “educational, medical, and criminal justice
expenditures on undocumented aliens” are over a billion dollars annually).
    If the Court grants this TRO and preliminary injunction, it will effectively
announce that anyone on Earth has any number of constitutional rights simply

by being apprehended while trying to cross the United States border. That
dramatic expansion of rights available to unlawfully-present aliens with no
substantial connection to this country will incentivize even more unlawful en-
tries and further consume public resources at the State and local level.


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                             Conclusion
    For the foregoing reasons, amici urge the Court to deny Plaintiff’s motion
for a temporary restraining order or preliminary injunction.

                                        Respectfully submitted.

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                     Certificate of Service
    I hereby certify that on October 17, 2017 the foregoing document was
served via electronic filing on all counsel of record in this case.


                                         /s/ Scott A. Keller
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